           Case 19-16776-amc                   Doc       Filed 09/16/24 Entered 09/16/24 09:42:54                                  Desc Main
 Fill in this information to identify the case:          Document      Page 1 of 9
 Debtor 1               Asia M. Keomanivanh
                       __________________________________________________________________


 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                            EASTERN                          PA
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                             (State)
 Case number
                        19-16776-amc
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                              12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


                   Lakeview Loan Servicing, LLC                                                                             17-2
 Name of creditor: _______________________________________                               Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                  Date of payment change:
 identify the debtor’s account:                          6117 ____ ____ ____
                                                         ____                            Must be at least 21 days after date        11    01   2024
                                                                                                                                    ____/____/_____
                                                                                         of this notice


                                                                                         New total payment:                           752.20
                                                                                                                                    $ ____________
                                                                                         Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
            No
       X
            Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                 the basis for the change. If a statement is not attached, explain why: ___________________________________________
                 __________________________________________________________________________________________________
                                              259.29
                   Current escrow payment: $ _______________                           New escrow payment:            223.53
                                                                                                                   $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
       X    No
            Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                 attached, explain why: _______________________________________________________________________________
                 __________________________________________________________________________________________________

                   Current interest rate:         _______________%                     New interest rate:          _______________%

                   Current principal and interest payment: $ _______________           New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
       X    No
            Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                 (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                         New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                               page 1
          Case 19-16776-amc                         Doc           Filed 09/16/24 Entered 09/16/24 09:42:54                            Desc Main
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Debtor 1         Asia M. Keomanivanh
                 _______________________________________________________                                                19-16776-amc
                                                                                                Case number (if known) _____________________________________
                 First Name      Middle Name               Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

           I am the creditor.
      X
           I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.

                                                                                                           09/16/24
       /s/ Andrew M. Lubin
     _____________________________________________________________                              Date    ____/_____/________
     Signature




 Print:              Andrew M. Lubin
                    _________________________________________________________                   Title    Attorney for creditor
                                                                                                        ___________________________
                    First Name                      Middle Name          Last Name



 Company             McCabe, Weisberg & Conway, LLC
                    _________________________________________________________



 Address             1420 Walnut Street, Suite 1501
                    _________________________________________________________
                    Number                 Street

                     Philadelphia, PA 19102
                    ___________________________________________________
                    City                                                 State       ZIP Code



 Contact phone        215
                    (______)  790
                             _____–   1010
                                    _________                                                          ecfmail@mwc-law.com
                                                                                                Email ________________________




Official Form 410S1                                                    Notice of Mortgage Payment Change                                           page 2
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                       UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
In re:   Asia M. Keomanivanh             Chapter 13
                                         Bankruptcy No. 19-16776-amc
                    Debtor(s)

 Lakeview Loan Servicing, LLC,
or its Successor or Assignee
               vs.      Movant

SCOTT F. WATERMAN (Chapter 13), Trustee
Asia M. Keomanivanh
                   Respondent(s)

   CERTIFICATION OF SERVICE OF NOTICE OF MORTGAGE PAYMENT CHANGE

         I, Andrew M. Lubin, attorney for Lakeview Loan Servicing, LLC, hereby certify that I
 served a true and correct copy of the foregoing Amended Notice of Mortgage Payment Change,
 by United States Mail, first class, postage prepaid, and/or electronic means, upon the following:
 Date Served: 09/16/24


 Asia M. Keomanivanh              Michael A. Cibik, Esquire         SCOTT F. WATERMAN
 2105 S. 21st Street              Cibik Law, P.C.                   (Chapter 13)
 Philadelphia, Pennsylvania       1500 Walnut Street                Chapter 13 Trustee
 19145                            Suite 900                         2901 St. Lawrence Ave.
                                  Philadelphia, PA 19102            Suite 100
                                  Attorney for Debtor               Reading, Pennsylvania 19606
                                                                    Trustee

                                  Office of the U.S. Trustee
                                  Robert N.C. Nix Federal
                                  Building
                                  Suite 320
                                  Philadelphia, PA 19107


                                       /s/ Andrew M. Lubin
                                       MARISA MYERS COHEN, ESQUIRE ID #87830
                                       ANDREW M. LUBIN, ESQUIRE ID # 54297
                                       Attorney for Lakeview Loan Servicing, LLC
                                       1420 Walnut Street, Suite 1501
                                       Philadelphia, PA 19102
                                       Telephone: (215) 790-1010
                                       Facsimile: (215) 790-1274
                                       Email: ecfmail@mwc-law.com
                                                            Representation of Printed Document
             Case 19-16776-amc                         Doc      Filed 09/16/24 Entered 09/16/24 09:42:54 Desc Main
                                                                Document        ANNUAL
                                                                              Page 4 of 9 ESCROW ACCOUNT
                                                                                            DISCLOSURE STATEMENT
P.O. Box 8068 | Virginia Beach, VA 23450 | 1.800.509.0183




                                                                                                         Statement Date:                           08/19/24

         ASIA M KEOMANIVANH
         MICHAEL A. CIBIK
         CIBIK LAW, P.C
         1500 WALNUT ST STE 900
         PHILADELPHIA PA 19102-3518




        Annual Escrow Account Disclosure Statement                                          Contact Us

        Loan Number:                                                                        Customer Service/Pay-by-Phone
        Property Address:                                    2014 S 28TH ST                 1.800.509.0183*
                                                      PHILADELPHIA PA 19145                 *Calls are randomly monitored and recorded to ensure quality service.
        Review Period:                                     12/2023 to 10/2024
                                                                                            Hours
        Escrow Shortage:                                             $-68.96                Monday - Friday: 8 A.M. to 9 P.M. ET
                                                                                            Saturday: 8 A.M. to 3 P.M. ET

        Current Mortgage Payment                                                            Website:
                                                                                            https://lakeviewloanservicing.myloancare.com
        Principal and/or Interest:                                    $528.67
        Escrow (Taxes and/or Insurance):                              $215.28
        Prorated Shortage:                                             $44.01              Autodraft Customers: If your mortgage payment amount
                                                                                           has changed, we'll adjust your payment for you.
        Total Monthly Payment:                                       $787.96
                                                                                           Online Bill Payment Customers: If your mortgage
        New Mortgage Payment                                                               payment amount has changed, you will need to contact
                                                                                           your financial services provider to adjust your payment.
        Principal and/or Interest:                                    $528.67
        Escrow (Taxes and/or Insurance):                              $217.78
        Prorated Shortage:                                              $5.75

        Total New Monthly Payment                                    $752.20
        Effective Due Date:                                       11/01/2024



        Account History
        The following statement of activity in your escrow account from 12/2023 through 10/2024 displays actual activity as it occurred in your escrow account
        during that period. If your loan was transferred by another mortgage servicer, the prior projection information may not be included below.
        Month          Activity                                    Projected Amount   Actual Amount         Projected Escrow Balance          Actual Escrow Balance
                       Starting Balance                                                                                     $1,512.07                      $1,243.30
        December       Deposit                                              $215.28         $259.29*                        $1,727.35                      $1,502.59
        January        Deposit                                              $215.28         $259.29*                        $1,942.63                      $1,761.88
        February       Deposit                                              $215.28         $259.29*                        $2,157.91                      $2,021.17
        February       City/Town Tax Disbursement                         $1,727.35        $1,727.36*                         $430.56                        $293.81
        March          Deposit                                              $215.28         $259.29*                          $645.84                        $553.10
        April          Deposit                                              $215.28         $259.29*                          $861.12                        $812.39
        May            Deposit                                              $215.28         $259.29*                        $1,076.40                      $1,071.68
        June           Deposit                                              $215.28         $259.29*                        $1,291.68                      $1,330.97
        June           Hazard Insurance Disbursement                          $0.00         $886.00*                        $1,291.68                        $444.97
        July           Deposit                                              $215.28         $259.29*                        $1,506.96                        $704.26
        July           Hazard Insurance Disbursement                        $856.00            $0.00*                         $650.96                        $704.26
        August         Deposit                                              $215.28            $0.00*                         $866.24                        $704.26
        September      Deposit                                              $215.28         $259.29* E                      $1,081.52                        $963.55




  See reverse side for additional important information.

      ASIA M KEOMANIVANH
      MICHAEL A. CIBIK
      CIBIK LAW, P.C
      1500 WALNUT ST STE 900                                                                                                        New Monthly Payment Effective
                                                                                                  Shortage Amount
      PHILADELPHIA PA 19102-3518                                                                                                    11/01/2024

                                                                                                  $-68.96                           $752.20




                                                                                             Your shortage is $-68.96 and will be spread over a 12-month period.




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Account History                                          Document      Page 5 of 9
Month          Activity                                        Projected Amount Actual Amount                Projected Escrow Balance             Actual Escrow Balance
October        Deposit                                                    $215.28              $259.29* E                       $1,296.80                       $1,222.84
               Total Deposits                                           $2,368.08            $2,592.90
               Total Disbursements                                      $2,583.35            $2,613.36
               Account Balance as of 10/31/2024                                                                                                                 $1,222.84
An asterisk (*) appearing next to the amount indicates a difference from projected activity either in the amount or the date. The letter “E” next to an amount indicates
that the payment or disbursement has not yet occurred, but is estimated to occur on the date shown.


Last year we anticipated that Disbursements would be made from your Escrow Account during the period equaling $2,583.35. Your lowest monthly
escrow balance should not have exceeded $430.56, which is either 1/6 (also equal to no more than two months) of the total projected payments from
the account as required by federal law or the reasonable amount required by state law or the amount required by your mortgage contract. Your actual
lowest monthly balance was $293.81. The items with an asterisk on your Account History may explain this. For further explanation, call our toll-free
number shown under the Contact Us section on this statement.


Total Anticipated Annual Disbursement
We anticipate paying the escrow items listed below on your behalf in the upcoming 12-month period. The dollar amount shown may be the last amount
paid for that item, or we may project the amount due as defined by federal law.
Tax                                                                                    Insurance
Item                                      Annual Expense       Anticipated Date(s)     Item                                     Annual Expense Anticipated Date(s)
                                                               of Payment                                                                       of Payment
City/Town Tax Disbursement                  $1,727.36          February 2025           Hazard Insurance Disbursement                    $886.00 July 2025
Total Anticipated Annual Disbursement = $2,613.36


Account Projections
The following information covers your projected escrow account activity from 11/2024 to 10/2025. All payments we anticipate receiving as well as
disbursements we anticipate making on your behalf are included, along with the Projected Escrow Account Balance, derived by carrying forward your
current actual escrow balance. The required Escrow Account Balance displays the amount actually required to be on hand as specified by federal law,
state law, or your mortgage documents, and may include a cushion of up to one-sixth of your annual disbursements. Please retain this statement for
comparison with the actual activity in your account at the end of the next escrow analysis cycle.
Month                  Projected             Disbursements                                                                 Projected Escrow        Required Escrow
                       Payments
                       Projected             Projected             Description                                             Account Balance         Account Balance
                                                                   Beginning Balance                                                 $1,222.84               $1,291.80
November                           $217.78                         Deposit                                                           $1,440.62               $1,509.58
December                           $217.78                         Deposit                                                           $1,658.40               $1,727.36
January                            $217.78                         Deposit                                                           $1,876.18               $1,945.14
February                           $217.78            $1,727.36    City/Town Tax Disbursement                                          $366.60                 $435.56
March                              $217.78                         Deposit                                                             $584.38                 $653.34
April                              $217.78                         Deposit                                                             $802.16                 $871.12
May                                $217.78                         Deposit                                                           $1,019.94               $1,088.90
June                               $217.78                         Deposit                                                           $1,237.72               $1,306.68
July                               $217.78               $886.00   Hazard Insurance Disbursement                                       $569.50                 $638.46
August                             $217.78                         Deposit                                                             $787.28                 $856.24
September                          $217.78                         Deposit                                                           $1,005.06               $1,074.02
October                            $217.78                         Deposit                                                           $1,222.84               $1,291.80


Your Projected Escrow Account Balance as of 10/31/24 is $1,222.84. Your Required Beginning Escrow Balance according to this analysis should be
$1,291.80. This means you have a shortage of $-68.96. Per federal law, the shortage may be collected from you over 12 months or more unless it is
less than 1 month's deposit, in which case we have the additional option of requesting payment within 30 days. We will collect the shortage over 12
months. Once during this period, your Required Escrow Account Balance should be reduced to $435.56, as shown in February. This amount
represents the cushion selected as allowed by your mortgage contract, federal and state law.


Balance Your Escrow Account
Each year your account is reviewed to make sure there is enough money to pay your property taxes and/or insurance. Federal law allows us to require
a minimum balance in your account. This cash reserve helps to cover any increase in taxes and/or insurance. Subject to state law limits, your
minimum balance normally equals the amount of your escrow payments for about two months. The payments made to and from your escrow account
last year help predict your account activity for next year. Last year’s activity also helps predict what your lowest account balance is likely to be. To
balance your escrow account, we compare what your lowest account balance will likely be next year with your minimum required balance. The
difference between those two numbers tells us if you need to deposit additional funds or if we will provide a refund.



            $435.56    Your minimum required balance
            $366.60    Your projected lowest account balance for February
            $-68.96    Your escrow account surplus/shortage


LoanCare is a debt collector. This is an attempt to collect a debt, and any information obtained will be used for that purpose. However, if you filed for
bankruptcy, currently are in bankruptcy or received a discharge in bankruptcy, this communication is not an attempt to collect a debt, but is instead a
legally required notice regarding your escrowed taxes and insurance.
                                                                                                                            x37448.00
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                                                              3637 Sentara Way | Virginia Beach, VA 23452


         Understanding Your Escrow Changes                                    FREQUENTLY ASKED QUESTIONS

Over the past few years, we’ve worked to simplify our escrow                I thought I had a fixed rate. Why did
statement. Now, understanding your escrow information is                    my payment change?
even easier. In this letter, we’re breaking down your
statement even further to explain the changes in your escrow                Your mortgage payment is made up of
account information.                                                        two parts: your loan payment (principal
                                                                            and interest) and your escrow payment
       Read ahead to see your escrow payment breakdown                      (taxes and insurance). Your loan
       and your projected disbursements                                     payment does not increase or decrease
       Get answers to some of our most frequently asked                     unless you have an adjustable rate
                                                                            mortgage (ARM). The portion of your
       questions about escrow accounts
                                                                            monthly mortgage payment that goes
       See how to view your escrow information online                       toward escrows (taxes, homeowners
                                                                            and/or mortgage insurance) will change
                                                                            based on your projected amounts due to
Your Payment Information                                                    be paid.
Your current total monthly mortgage payment is $787.96.                              Your Mortgage Payment
Your total amount due will change by $35.76. Your new total
monthly payment will be $752.20, effective 11/01/2024.
Your Escrow Shortage
Your projected escrow account balance as of 10/31/24 is                                   Your Loan Payment
$1,222.84. Your required beginning escrow balance
according to this analysis should be $1,291.80. This means
you have a shortage of $68.96.
                                                                                        Your Escrow Payment*
       A surplus or shortage in your escrow account
       commonly occurs when:
  >   The projected amount at closing increases or decreases
  >   Your property taxes increase or decrease
  >   Your homeowners insurance increases or decreases
                                                                            * Your escrow payment may consist of the items in
  >   You change your homeowners insurance company                          the three categories shown in gray.
  >   We pay delinquent taxes on your behalf
                                                                            Please note: this chart is provided for
If you have questions about an increase in your property taxes or           demonstration purposes only and is not intended
insurance premiums, please contact your local taxing authority or           to represent the specific amount you have in each
insurance agent.                                                            category.

Your shortage of $68.96 will be divided into 12 installments of             Why is there extra money in my
$5.75 and added to your monthly payment. Your new monthly                   escrow account?
payment will be $752.20, effective 11/01/2024.
                                                                            Your escrow account makes sure you
If you choose to pay your shortage in full, please detach the               have money set aside to pay the
stub at the bottom of your analysis statement, enclose it with              necessary taxes and insurance.
your check and mail them to:
Attn: Customer Service                                                      A certain amount of the funds in your
                                                                            escrow account are designated to help
P.O. Box 8068
                                                                            keep your account from going negative.
Virginia Beach, VA 23450
                                                                            We call that an escrow cushion.

Please write your loan number on the Memo line of the check.                Think of your cushion as overdraft
                                                                            protection for your escrow account. Your
Once we receive your payment and apply it to your loan, your                cushion is designed to help offset any
payment will be adjusted.                                                   small changes in your tax and/or
                                                                            insurance bills. This helps lessen the
                                                                            burden of an escrow shortage when your
                                                                            escrow analysis is completed. Cushions
                                                                            typically cannot be waived or removed.


                         Customer Service: 1.800.509.0183 Collections: 1.800.509.0183
                                  https://lakeviewloanservicing.myloancare.com
                        Monday - Friday: 8 A.M. to 9 P.M. ET Saturday: 8 A.M. to 3 P.M. ET
                                    P.O. Box 8068 | Virginia Beach, VA 23450

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                                                            3637 Sentara Way | Virginia Beach, VA 23452


Even if you choose to pay your shortage in full, the amount of            How can I lower my escrow?
your payment may still change. Your escrow collections over
the next 12 months may be increased to ensure enough                      You may seek additional insurance
funds are collected to pay your future taxes and insurance.               quotes while maintaining the required
                                                                          coverage. You may contact your
Please review the Account Projections section of your Annual
                                                                          taxing authorities and ensure that you
Escrow Account Disclosure Statement to confirm the
                                                                          have taken advantage of all applicable
disbursement amounts of the escrowed items. If you find                   exemptions. If you are able to reduce
errors in this information, please confirm the disbursement               the cost of your insurance and/or are
amounts with your local taxing authority or insurance carrier             approved for an exemption, please
and contact us to report any discrepancies.                               make sure to provide us updated
                                                                          information.
Check Your Information Online
Visit https://lakeviewloanservicing.myloancare.com to:
                                                                          Can I prepay my escrow so that my
   >   View your current escrow account balance                           payments don’t change?
   >   View your payment information
   >   View your estimated tax disbursement amounts                       No. You are required to pay 1/12th of
   >   View your insurance premiums                                       each escrowed item monthly with your
   >   Enroll for email notifications when escrow                         principal and interest payment.
       disbursements are made

If You Need Assistance
        Our representatives are ready to assist you should you
        need further information or have additional questions
        or concerns. Call 1.800.509.0183 Monday - Friday: 8
        A.M. to 9 P.M. ET Saturday: 8 A.M. to 3 P.M. ET.
Sincerely,
Escrow Department
LoanCare, LLC

This summary is not a substitute for the Annual Escrow
Account Disclosure Statement and it is important that you still
review the enclosed Annual Escrow Account Disclosure
Statement in its entirety.
TO THE EXTENT THE FAIR DEBT COLLECTION
PRACTICES ACT (FDCPA) AND/OR STATE DEBT
COLLECTION LAWS ARE APPLICABLE, PLEASE BE
ADVISED THAT THIS COMMUNICATION IS FROM A DEBT
COLLECTOR AND ANY INFORMATION OBTAINED WILL
BE USED FOR THAT PURPOSE.
TO THE EXTENT YOUR OBLIGATION HAS BEEN
DISCHARGED IN BANKRUPTCY, IS SUBJECT TO THE
AUTOMATIC STAY OR IS PROVIDED FOR IN A
CONFIRMED PLAN, THIS COMMUNICATION IS FOR
INFORMATIONAL PURPOSES ONLY, AND DOES NOT
CONSTITUTE A DEMAND FOR PAYMENT OR AN
ATTEMPT TO IMPOSE PERSONAL LIABILITY FOR SUCH
OBLIGATION.




                       Customer Service: 1.800.509.0183 Collections: 1.800.509.0183
                                https://lakeviewloanservicing.myloancare.com
                      Monday - Friday: 8 A.M. to 9 P.M. ET Saturday: 8 A.M. to 3 P.M. ET
                                  P.O. Box 8068 | Virginia Beach, VA 23450

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     A GUIDE TO YOUR ANNUAL ESCROW STATEMENT

Understanding Your Statement                                     The
                                                                  Annual Escrow Account Disclosure Statement
                                                                      Annual Escrow Account Disclosure Statement
Your business is important to us and so is your satisfaction.       section includes your loan number, the review period
We know that understanding your Annual Escrow Account               and the escrow surplus/shortage.
Disclosure Statement can be overwhelming. We have                   •   Loan Number – Unique primary identifier that is specific
created this guide to help you.                                         to your loan.
                                                                    •   Review Period – Time frame for activity displayed in
Please take the time to review this thoroughly.                         the statement.
                                                                    •   Escrow Surplus/Shortage – If your projected escrow
                                                                        account balance is greater than the required beginning
                                                                        escrow balance, you have a surplus. If your projected
                                                                        escrow account balance is less that the required
                                                                        beginning escrow balance, you have a shortage.

                                                                 Current Mortgage Payment
                                                                    This section shows your current total monthly
                                                                    payment with a breakdown of principal and/or interest
                                                                    and escrow.

1                                                                This
                                                                  New Mortgage Payment
                                                                       section displays your new payment amount and
                                                                    the date on which it is due. This includes principal
                                                                    and interest, escrow and additional amounts.
                                                                        Effective Due Date – Date on which your new payment

                                                                    •
                                                                        is due.



                                                               This
                                                                 Account History
                                                                      section displays a breakdown of your account
                                                                    history for the review period that includes the following
                                                                    sections:
                                                                   •
                                                                    •
                                                                        Month – The month for which activity is displayed.
                                                                        Activity – A description of the projected and/or actual
                                                                        amount(s).
                                                                    •   Projected Amount: Deposit – 1/12 of the anticipated
                                                                        annual escrow disbursement as of the last analysis you
                                                                        received. This is what we expected you to pay into your
                                                                        escrow account each month.
                                                                    •   Projected Amount: Disbursement – The amounts we
                                                                        expected to disburse on your behalf to various tax and
                                                                        insurance entities.
                                                                    •   Actual Amount: Deposit – The actual amount we
                                                                        received from you and deposited into your escrow
                                                                        account.
                                                                    •   Actual Amount: Disbursement – The amounts we
                                                                        actually disbursed on your behalf to various tax and
                                                                        insurance entities.
                                                                    •   Projected Escrow Balance – The escrow balance we
                                                                        expected your account to show at the end of each
                                                                        month, based on the projected payments and projected
                                                                        disbursements.
                                                                    •   Actual Escrow Balance – The balance in your escrow
                                                                        account at the end of each month, based on the actual
                                                                        payments and disbursements that occurred during the
                                                                        period.
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    A GUIDE TO YOUR ANNUAL ESCROW STATEMENT

 This
  Total Anticipated Annual Disbursement
       section displays your tax and insurance
    disbursements. The total anticipated annual
    disbursement is the sum of all the tax and
    insurance payments.

This
 Account Projections
      section displays a breakdown of your account
    projections for the review period that includes:

    •   Month – The month for which activity is displayed.
    •   Projected Payments – 1/12 of the anticipated annual
        escrow disbursement as of the last analysis you
                                                                  
        received. This is what we expected you to pay into your
        escrow account each month.
    •   Disbursements – The amounts we expected to
        disburse on your behalf to various tax and insurance

    •
        entities.
        Projected Escrow – The escrow balance we expected
                                                                  
        your account to show at the end of each month,
        based on the projected payments and projected
        disbursements.
    •   Required Escrow – The balance in your escrow
        account at the end of each month, based on the
        actual payments and disbursements that occurred
        during the period.


    Contact Us
    I f yo u have any questions, please call us or visit us
    online by referencing the information provided on
    your Annual Escrow Account Disclosure Statement.


    Written notices of error or information requests
    should be sent to:

    ATTN: The Office of the Customer
    P.O. Box 8068
    Virginia Beach, VA 23450

    Business Hours
    Monday – Friday, 8 A.M. to 9 P.M. ET
    Saturday, 8 A.M. to 3 P.M. ET
